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                   EXHIBIT 1
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                                                                                          2021-CCL-00597
                                                                                          7/21/2021 6:07 PM
                                                                                          Sylvia Garza-Perez
                                                                                          Cameron County Clerk
                                                      2021-CCL-00597
                                                NO.

              HUGO MEDELLIN                                   §    IN THE COUNTY COURT AT LAW
              Plaintiff,                                      §
                                                              §
              V.                                              §    NO. ________
                                                              § Cameron County - County Court at Law III
              ARION MORSHEDIAN                                §
              Defendant.                                      §    CAMERON COUNTY, TEXAS


               PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, NOTICE OF INTENT TO USE DOCUMENTS
              PURSUANT TO TEXAS RULES OF CIVIL PROCEDURE, RULE 193.7, AND PLAINTIFF'S REQUEST
              FOR NOTICE BY DEFENDANT OF INTENT TO SEEK ADMISSION OF CRIMINAL CONVICTIONS OF
                         WITNESSES PURSUANT TO TEXAS RULES OF EVIDENCE RULE 609(F)


             TO THE HONORABLE JUDGE OF SAID COURT:

                    NOW COMES Hugo Medellin, hereinafter referred to as ‘Plaintiff’ complaining of and

             about Arion Moreshedian, hereinafter referred to as ‘Defendant’ and for cause of action show unto

             the Court the following:

                                                    I.
                              CLAIMS FOR RELIEF AND DISCOVERY CONTROL PLAN

                    Plaintiff seeks damages (including punitive damages) over $25,000.00, but not exceeding

             $70,000.00, pursuant to Texas Rules of Civil Procedure 47(c)(4). Plaintiff intends that discovery

             be conducted under Discovery Level 3.

                                                          II.
                                                 PARTIES AND SERVICE

                    Plaintiff Hugo Medellin is an individual whose address is 33229 Long Horn Lane, Los

             Fresnos, Texas 78566.

                        Defendant Arion Moreshedian, an believed to reside in the State of California. Pursuant

             to Section 17.062 of the Texas Civil Practice and Remedies Code, Defendant Arion Moreshedian

             may be served by serving the chairman of the Texas Transportation Commission, J. Bruce Bugg,




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             Jr., Chairman of the Texas Transportation Commission, 125 East 11th Street, Austin, Texas 78701-

             2489. Immediately after being served, the Chairman of the Texas Transportation Commission shall

             mail a copy of the process and notice that the process has been served on the chairman, by certified

             mail return receipt requested, with postage pre-paid, to Defendant Arion Moreshedian at his

             residence at 2953 Trotter Way, Walnut Creek, California 94596.

                                                              III.

                                               JURISDICTION AND VENUE

                    The subject matter in controversy is within the jurisdictional limits of this court.

                    Venue in Cameron County is proper in this cause under Section 15.002(a)(1) of the Texas

             Civil Practice and Remedies Code because all or a substantial part of the events or omissions

             giving rise to this lawsuit occurred in this county.

                                                             IV.
                                                            FACTS

                    On or about June 11, 2021, Plaintiff Hugo Medellin was operating a motor vehicle traveling

             westbound near the 3700th block of Boca Chica Boulevard in Brownsville, Cameron County,

             Texas. At all times relevant, Defendant Arion Morshedian was operating a motor vehicle directly

             behind the Plaintiff’s vehicle.

                    Defendant Arion Morshedian, failing to control the speed of his vehicle, failing keep a

             proper lookout, and failing to pay due attention to traffic conditions, slammed violently into the

             rear of the Plaintiff Hugo Medellin’s vehicle. As a result of the collision, Plaintiff sustained severe

             bodily injuries and extensive property damage.




                                                               V.



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                                PLAINTIFF’S CLAIMS OF NEGLIGENCE AGAINST
                                      DEFENDANT ARION MORSHEDIAN

                    Defendant Arion Morshedian had a duty to exercise the degree of care that a reasonably

             careful person would use to avoid harm to others under circumstances similar to those described

             herein. Plaintiff’s injuries were proximately caused by Defendant Arion Morshedian’s negligent,

             careless and reckless disregard of said duty.

                    The negligent, careless and reckless disregard of duty of Defendant Arion Morshedian,

             consisted of, but is not limited to, the following acts and omissions:

                    A.      In that Defendant failed to keep a proper lookout for Plaintiff’s safety that would
                            have been maintained by a person of ordinary prudence under the same or similar
                            circumstances; Texas Transportation Code §545.401;

                    B.      In that Defendant failed to turn his motor vehicle to the right or left in an effort to
                            avoid the collision complained of; Texas Transportation Code §545.103;

                    C.      In that Defendant failed to maintain a clear and reasonable distance with other
                            motorists; Texas Transportation Code §545.062;

                    D.      In that Defendant was operating his motor vehicle at a rate of speed which was
                            greater than that would have been operated by a person of ordinary prudence under
                            the same or similar circumstances; Texas Transportation Code §545.062;

                    E.      In that Defendant failed to apply the brakes to his motor vehicle in a timely and
                            prudent manner and/or wholly failed to apply his brakes. Texas Transportation Code
                            §545.351;

                    F.      In that Defendant failed to pay attention in his driving as a person using ordinary
                            prudent care would have done; Texas Transportation Code §545.401;

                    G.      In that Defendant failed to keep such distance away from Plaintiff’s motor vehicle
                            as a person using ordinary prudent care would have done; Texas Transportation
                            Code §545.062;

                    H.      In that Defendant failed to control the speed of his motor vehicle to avoid the
                            collision complained of; Texas Transportation Code §545.351; and

                    I.      In that Defendant was distracted by an electronic device at or near the time of the
                            collision complained of; Texas Transportation Code §545.4251.
                                                            VI.



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                                   DAMAGES FOR PLAINTIFF HUGO MEDELLIN

                    As a direct and proximate result of the occurrence made the basis of this lawsuit Plaintiff

             Hugo Medellin was caused to suffer bodily injury, and to incur the following damages:

                    A.      Reasonable medical care and expenses in the past. These expenses were incurred
                            by Plaintiff, for the necessary care and treatment of the injuries resulting from the
                            collision complained of herein and such charges are reasonable and were usual and
                            customary charges for such services in Cameron County, Texas;

                    B.      Reasonable and necessary medical care and expenses which, in all reasonable
                            probability, will be incurred in the future;

                    C.      Physical pain and suffering in the past;

                    D.      Physical pain and suffering in the future;

                    E.      Physical impairment in the past;

                    F.      Physical impairment which, in all reasonable probability, will be suffered in the
                            future;

                    G.      Loss of earnings in the past;

                    H.      Loss of earning capacity which, in all reasonable probability, will be incurred in the
                            future;

                    I.      Disfigurement in the future;

                    J.      Mental anguish in the past;

                    K.      Mental anguish in the future;

                    L.      Cost of medical monitoring and prevention in the future.




                                                            VII.



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                            NOTICE OF INTENT TO USE DOCUMENTS PRODUCED BY
                        DEFENDANT IN RESPONSE TO PLAINTIFF'S WRITTEN DISCOVERY
                         PURSUANT TO TEXAS RULES OF CIVIL PROCEDURE, RULE 193.7

                      Plaintiff hereby serves notice that Plaintiff intends to use any and all documents produced

             by the Defendant in response to written discovery propounded to Defendant. As such, the

             produced documents are self-authenticating pursuant to Texas Rules of Civil Procedure, Rule

             193.7.

                                                  VIII.
                        PLAINTIFF'S REQUEST FOR NOTICE BY DEFENDANTS OF INTENT
                        TO SEEK ADMISSION OF CRIMINAL CONVICTIONS OF WITNESSES
                            PURSUANT TO TEXAS RULES OF EVIDENCE, RULE 609(f)

                      Plaintiff hereby serves notice to the Defendant, pursuant to Texas Rules of Evidence, Rule

             609(f), that Plaintiff demands timely written notice by Defendant that Defendant demands to seek

             admission of criminal convictions, as defined in Texas Rules of Evidence, Rule 609(a) against any

             witness designated by any party as a relevant fact witness, testifying expert witness, and/or any

             consulting expert witness whose mental impressions or opinions have been reviewed by a

             testifying expert witness.

                                                         IX.
                                                REQUIRED DISCLOSURES

                      Defendant is requested to disclose, within thirty (30) days of the filing of his Original

             Answer, the information and documents required by Rule 194.2 (b) (1-12).

                                                            X.
                                                       JURY DEMAND

                      Plaintiff demands a trial by jury.




                                                             XII.



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                                                           PRAYER

                    WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the

             Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,

             judgment be entered for the Plaintiff against Defendant for damages in an amount within the

             jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury

             through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the

             legal rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at

             law or in equity.


                                                            Respectfully submitted,
                                                            BEGUM LAW GROUP

                                                            /s/ Mario Cisneros
                                                            Mario Cisneros
                                                            State Bar No.: 24065048
                                                            2401 Wild Flower Drive, Ste B
                                                            Brownsville, Texas 78526
                                                            Telephone: (956) 982-1800
                                                            Facsimile: (956) 982-8602
                                                            Email: BrownsvilleLegal@begumlawgroup.com
                                                            Attorney for Plaintiff




                            COURTESY NOTICE TO DEFENDANT

              If you had insurance at the time of the collision, please contact
              and forward a copy of this petition to your insurance company.




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